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                      United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 17-7035                                                       September Term, 2017
                                                                  FILED ON: JULY 17, 2018

AMERICAN SOCIETY FOR TESTING AND MATERIALS, ET AL.,
                  APPELLEES

v.

PUBLIC.RESOURCE.ORG, INC.,
                  APPELLANT


Consolidated with 17-7039


                            Appeals from the United States District Court
                                    for the District of Columbia
                                     (No. 1:13-cv-01215-TSC)



       Before: TATEL, WILKINS, and KATSAS, Circuit Judges

                                          JUDGMENT

       These causes came on to be heard on the record on appeal from the United States District
Court for the District of Columbia and were argued by counsel. On consideration thereof, it is

        ORDERED and ADJUDGED that the District Court’s permanent injunctions be vacated, the
partial grant of summary judgment against PRO be reversed, and the case is hereby remanded to the
District Court for further proceedings, in accordance with the opinion of the court filed herein this
date.

                                             Per Curiam


                                                            FOR THE COURT:
                                                            Mark J. Langer, Clerk

                                                      BY:   /s/

                                                            Ken Meadows
                                                            Deputy Clerk


Date: July 17, 2018

Opinion for the court filed by Circuit Judge Tatel.
Concurring opinion filed by Circuit Judge Katsas.
